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 4

 5
     Attorney for Defendant
     JESUS PADILLA
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                       )       CR NO. S-08-420 EJG
10
                                                     )
                                                     )
11          Plaintiff,                               )       ORDER CONTINUING SENTENCING
                                                     )
12
     v.                                              )       Date: September 11, 2009
                                                     )       Time: 10:00 a.m.
13
     JESUS PADILLA,                                  )       Judge: Hon. Edward J. Garcia
                                                     )
14
                                                     )
            Defendant.                               )
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                                                     )
                                                     )
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                                                     )
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     The parties hereby stipulate the following:
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            1. Judgment and sentencing in this matter is presently set for September 11, 2009.
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                Counsel for defendant Jesus Padilla was in trial for two weeks and requests more time
20
                to adequately respond to the probation report, it is hereby requested that the date for
21
                judgment and sentencing be continued to September 25, 2009 at 10:00am.
22
            2. The parties and United States Probation hereby requests that the court adopt the
23
                following schedule pertaining to the presentence report:
24              Presentence report filed with Court
                and disclosed to counsel:                       July 30, 2009
25
                Counsel’s written objections
26
                to presentence report due:                           August 14, 2009
27
                Proposed presentence report
28              disclosed to counsel:                                August 21, 2009


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     Dated: September 3, 2009                                     /s/ John R. Manning
 1
                                                                 JOHN R. MANNING
 2                                                               Attorney for defendant
                                                                 Alfonso Corrales
 3
     Dated: September 3, 2009                                    /s/ Mary L. Grad
 4
                                                                 MARY L. GRAD
 5                                                               Assistant United States Attorney

 6

 7

 8                                                ORDER
 9   GOOD CAUSE APPEARING, it is hereby ordered that the date for the judgment and sentence
10
     of defendant Jesus Padilla be continued from September 11, 2009 to September 25, 2009. The
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     court hereby adopts the schedule concerning the presentence report as stipulated to by the parties
12

13   and set forth herein.

14   DATED:_Sept. 4_, 2009                                /s/ Edward J. Garcia
                                                          U. S. DISTRICT JUDGE
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